           Case 3:17-cv-00534-AKK Document 29 Filed 04/03/18 Page 1 of 5                 FILED
                                                                                2018 Apr-03 PM 05:26
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA

ALICE WESTBROOK,                           )
                                           )
      Plaintiff,                           )
                                           )
vs.                                        ) Case No.: 3:17-cv-00534-HNJ
                                           )
NASA FEDERAL CREDIT UNION;                 )
TWENTY 4 SEVEN RECOVERY                    )
INC.,                                      )
                                           )
      Defendant.

      TWENTY 4 SEVEN RECOVERY INC.’S MOTION TO DISMISS

      Defendant Twenty 4 Seven Recovery Inc. (“Twenty 4 Seven”), pursuant to

Fed. R. Civ. P. 12(b)(6), moves to dismiss all claims asserted against it in

Plaintiff’s Amended Complaint (Doc. #13).

      1.       This lawsuit arises from the repossession of the vehicle purchased by

Alice Westbrook’s (“Westbrook”) deceased husband.           According to Plaintiff,

NASA Federal Credit Union contracted with Twenty 4 Seven to repossess a

vehicle.      Westbrook confronted Twenty 4 Seven’s employee while the

repossession was taking place, stated the vehicle was not in default, and attempted

to retrieve personal items from the vehicle. Westbrook called the police, who

allowed her to retrieve personal items from the car.         Twenty 4 Seven then

completed the repossession. See Doc. 13, ¶¶ 5-18.



                                          1
           Case 3:17-cv-00534-AKK Document 29 Filed 04/03/18 Page 2 of 5




      2.       This Court has already granted co-defendant NASA Credit Union’s

Motion to Dismiss based on a lack of standing to bring certain claims. See Doc. 6

(Motion to Dismiss) and Doc. 27 (Memorandum and Order granting the Motion to

Dismiss). The claims against Twenty 4 Seven should be dismissed for the same

reasons found by this Court when it dismissed the claims against NASA.

      3.       First, Westbrook does not have standing to bring a negligence or

wantonness claim. See Doc. 13, Counts I, II, IV, and V. As recognized by this

Court, the Alabama Supreme Court has held that the widow of a deceased vehicle

owner does not have standing to assert claims arising from a repossession. Vest v.

Dixie-Widwest Express, Inc., 537 So. 2d 13, 14 (Ala. 1988). Further, Westbrook

has failed to plead an actionable injury arising from the repossession, claiming

only that she had to call the police to get her possessions and was embarrassed.

See Hilyer v. Fortier, 227 So. 3d 13, 22 (Ala. 2017) (injury a necessary element of

negligence).

      4.       Second, Westbrook does not have standing to bring the conversion

claim. See Doc. 13, Count III. As this Court recognized in its order dismissing the

case against NASA Credit Union, Westbrook does not have standing to bring the

conversion claim because she lacks legal title to the vehicle and the immediate

right of possession to the vehicle. See McGee v. McGee, 91 So. 3d 659, 667 (Ala.

2012) (lack of legal title to vehicle required for conversion claim).


                                          2
           Case 3:17-cv-00534-AKK Document 29 Filed 04/03/18 Page 3 of 5




      5.       Westbrook also stated two claims against Twenty 4 Seven that were

not asserted against NASA Credit Union—one, a general claim alleging violations

of the Fair Debt Collections Privacy Act (“FDCPA”) (Count VII), and the other, a

claim for invasion of privacy under the FDCPA (Count VIII).1 Twenty 4 Seven is

entitled to have these claims dismissed as well.

      6.       Westbrook does not have standing to bring the general FDCPA claim

because she is not a “consumer” entitled to bring a claim.2 The FDCPA defines

“consumer” as “any natural person obligated or allegedly obligated to pay any

debt.” 15 U.S.C. 1692(b)(3). Here, Westbrook alleges only that her late husband

was obligated on the car loan. See Doc. 13, ¶5. Ms. Westbrook’s name was never

placed on the loan. Because Westbrook was never obligated under the loan, she is

not a consumer under the FDCPA and does not have standing to bring the claim.

See Johnson v. Ocwen Loan Servicing, 374 Fed. Appx. 868, 873-874 (11th Cir.

2010) (daughter who was not on mortgage for home given to her by her mother

lacked standing to bring FDCPA claim and therefore not a “consumer”).

      7.       Finally, the invasion of privacy claim also is due to be dismissed.

Contrary to Plaintiff’s attempt to state a claim under the FDCPA for invasion of


      1
        Count VI, under the UCC, was not asserted against Twenty 4 Seven and
therefore need not be addressed here.
      2
        This fact is also dispositive of the FDCPA invasion of privacy claim
asserted in Count VIII.
                                         3
           Case 3:17-cv-00534-AKK Document 29 Filed 04/03/18 Page 4 of 5




privacy, the Act does not create a federal cause of action for invasion of privacy.

See Bandy v. Midland Funding, LLC, 2013 WL 210730, *10 (S.D. Ala. Jan. 18,

2013) (in connection with an FDCPA claim, the court found “Neither of these

provisions creates a cause of action for invasion of privacy, and Bandy has given

the Court no other reason to believe that she is entitled to assert such a claim

pursuant to federal law.”).

      8.       To the extent Westbrook meant to plead a privacy claim under state

law, this attempt fails too. Under Alabama law, “not every action taken by a

creditor to collector [sic] will give rise to an action for intrusion and that a test of

reasonableness applies.” Hart v. Gen. Motors Acceptance Corp., 437 So. 2d 1255,

1256 (Ala. 1983). Rather, “[t]he conduct supporting a cause of action for invasion

of privacy in the context of debtor-creditor relations involves ‘the wrongful

intrusion into one's private activities in such manner as to outrage or cause mental

suffering, shame or humiliation to a person of ordinary sensibilities.’” Hart, 437

So. 2d at 1256, quoting Liberty Loan Corp. of Gadsden v. Mizell, 410 So.2d 45, 47

(Ala.1982) (emphasis added). Here, as previously discussed, Westbrook’s name

was not on the car loan and therefore is not a “debtor” with standing to bring the

claim. The claim should therefore be dismissed.




                                           4
        Case 3:17-cv-00534-AKK Document 29 Filed 04/03/18 Page 5 of 5




      WHEREFORE, Twenty 4 Seven requests that all claims against it be

DISMISSED.

      Dated this 3rd day of April, 2018.



                                               /s/ Rachelle Sanchez
                                               One of the Attorneys for Defendant
                                               Twenty 4 Seven Recovery, Inc.

OF COUNSEL:
Sanford Hooper
shooper@lightfootlaw.com
Rachelle E Sanchez
rsanchez@lightfootlaw.com
LIGHTFOOT, FRANKLIN & WHITE LLC
The Clark Building
400 20th Street North
Birmingham, Alabama 35203
Telephone: (205) 581-0700
Facsimile: (205) 581-0799


                        CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served upon all counsel of
record through the Court’s electronic filing system this 3rd day of April, 2018.


                                               /s/ Rachelle Sanchez
                                               Of Counsel




                                           5
